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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

IN RE:                                       :
                                             :
BOY SCOUTS OF AMERICA AND                    :
DELAWARE BSA,                                :      Bankruptcy Case No. 20-10343 (LSS)
                                             :
               Debtors.                      :
                                             :
                                             :
CENTURY INDEMNITY COMPANY,                   :
                                             :
               Appellant,                    :
                                             :
         v.                                  :      Civil Action No. 20-774-RGA
                                             :
BOY SCOUTS OF AMERICA, and                   :
DELAWARE BSA, LLC,                           :
                                             :
               Appellees.                    :


                                           ORDER



               WHEREAS, the Magistrate Judge filed a recommendation that this case be

withdrawn from the process of mediation (D.I. 8);

               WHEREAS, this Court So Ordered that recommendation on June 26, 2020

(D.I. 10);

               NOW THEREFORE, IT IS HEREBY ORDERED that the parties shall adhere to

the following briefing schedule:

               Appellant’s Opening Brief on appeal shall be filed within thirty (30) days of the

date of this Order.

               Appellee’s Answering Brief on appeal shall be filed withing thirty (30) days of

receipt of opening brief.
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                Appellant’s Reply Brief on appeal shall be filed within fourteen (14) days of

receipt of answering brief.




June 26, 2020                         /s/ Richard G. Andrews
   DATE                               UNITED STATES DISTRICT JUDGE




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